




Dismissed and Memorandum Opinion filed December 7, 2006








Dismissed
and Memorandum Opinion filed December 7, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00933-CR

____________

&nbsp;

EVELYN FAJARDO HART, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
County Court at Law No. 4

Harris County, Texas

Trial Court Cause No. 1373604

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to driving while intoxicated.&nbsp; In accordance with the
terms of a plea bargain agreement with the State, the trial court sentenced
appellant on July 28, 2006, to confinement for four days in the Harris County
Jail.&nbsp; Appellant filed a timely, written notice of appeal.&nbsp; We dismiss the
appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
December 7, 2006.

Panel consists of Chief Justice Hedges and Justices
Fowler and Edelman.

Do Not Publish C Tex. R. App. P.
47.2(b).





